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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  JANE DOE, M.D.,

                       Plaintiff,

                v.                                      Civil Action No. 20-2148 (CRC)

  Steven Lieberman, Acting Principal Under
  Secretary for Health, Department of Veterans
  Affairs, et al.,

                       Defendants.


                  REPLY IN FURTHER SUPPORT OF DEFENDANTS’
                   CROSS-MOTION FOR SUMMARY JUDGMENT




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                                        INTRODUCTION

       Defendants Steven Lieberman, Acting Principle Under Secretary for Health, Department

of Veterans Affairs (“VA”), the VA’s Disciplinary Appeals Board (“DAB”), and the VA’s

Eastern Colorado Healthcare System (collectively, “Defendants” or “the Agency”), respectfully

submit the following reply in further support of Defendants’ cross-motion for summary judgment

(ECF No. 24). The final decision of the Agency to uphold Plaintiff’s removal from her position

at the VA, as well as the revocation of her clinical privileges, was reasonable, supported by

substantial evidence contained in the administrative record, and therefore easily satisfies scrutiny

under the limited scope of judicial review of VA disciplinary actions authorized by law.

Moreover, the Agency’s decision was not arbitrary, capricious, an abuse of discretion, or

contrary to law.

       The Agency’s in this case were based on one Charge of Unprofessional Conduct,

supported by five sustained Specifications. Eight Agency witnesses testified as percipient

witnesses in direct support of the five Specifications. Four more Agency witnesses testified as

rebuttal to Plaintiff’s various scattershot defenses and to prove up Plaintiff’s relevant

characteristics for penalty purposes. The DAB also reviewed the entire 358 page evidence file,

which included approximately 153 pages of direct evidence supporting both the charged

misconduct and the penalty of removal, approximately 127 pages of argument and evidence

provided by Plaintiff in her defense, and approximately 78 pages of administrative documents

and notices.

       Plaintiff’s opposition (ECF No. 25) consists of various shotgun assignments of error and

unsupported assertions that, despite her vigorous defense both at the pre-decisional stage and at

the appeal stage, the DAB simply did not agree with. This includes Plaintiff’s theory of a
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widespread conspiracy to manufacture false reports of misconduct against her from an incredibly

broad cross-section of Agency medical personnel and University anesthesiology residents. Her

argument rests primarily on the DAB’s refusal to allow her to litigate various collateral matters

over which the DAB lacks jurisdiction, including her Merit Systems Protection Board (“MSPB”)

claims of Whistleblower reprisal, her Equal Employment Opportunity complaints of failure to

provide reasonable accommodation and unlawful discrimination, and her summary suspension of

clinical privileges.

         However, the evidence file provided to both Plaintiff and the DAB contained substantial

evidence to notify Plaintiff of the claims against her and to support the charged misconduct in its

entirety. After a four-day hearing, including testimony from nearly 20 witnesses, the DAB

correctly concluded that such substantial evidence supported the Charge of Unprofessional

Conduct, supported removal as an appropriate penalty, and supported the Agency’s decision to

revoke Plaintiff’s clinical privileges. Accordingly, for the reasons stated in the Agency’s Cross-

Motion for Summary Judgment and in Opposition to Plaintiff’s Motion for Summary Judgment,

and discussed further below, the Court should deny Plaintiff’s motion for summary judgment

(ECF No. 21) and grant summary judgment in favor of Defendants.

                                          ARGUMENT

    I.      THE AGENCY’S DECISION TO IMPLEMENT THE DISCIPLINARY
            APPEALS BOARD’S FINDINGS IS SUPPORTED BY SUBSTANTIAL
            EVIDENCE.

         The DAB had substantial evidence, both documentary and in the form of sworn

testimony, upon which to base its decision and the Agency reasonably relied on that substantial

evidence when it implemented the DAB’s findings. Accordingly, the Agency’s action should be

upheld. See, e.g., Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto Ins. Co., 463 U.S.


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29, 43 (1983). Here, the Agency proposed to remove Plaintiff from her employment under Title

38 of the United States Code, as well as revoke her clinical privileges at the Veterans Affairs

Medical Center in Denver, Colorado, based on one Charge of Unprofessional Conduct supported

by five Specifications. The DAB upheld each Specification and agreed with the Agency that

Plaintiff’s misconduct had a decidedly negative impact on the workplace and contributed to a

hostile and toxic workplace environment, eroding morale and leading the cardiac surgeons to

schedule their patients to intentionally avoid Plaintiff. (AR 968 (findings for Specification 8),

969 (¶ 6), 970 (¶ 9); see also AR 339 (Dr. Soong email stating that complex surgeries are

scheduled to avoid Plaintiff), 342 (email citing complaint from Cardiac Surgeon), 1002-1003

(testimony of Dr. Black regarding Cardiac Surgeons complaining about Plaintiff), and 1756-

1757 (testimony of Dr. Beck regarding Cardiac Surgeons complaining about Plaintiff)).

Plaintiff’s misconduct also negatively impacted the Agency’s relationship with the University of

Colorado School of Medicine, which was (and still is) a steady source of medical residents for

the Agency’s hospital as well as with a contract worker, Sarah Fredriksson. Thus, the DAB had

ample evidence to support its findings and the Agency had more than substantial evidence to

justify its decision to implement those findings. (See AR 968 (“The Appellant’s failure to

effectively communicate put the agency and the patients at unnecessary risk.”)).

   A. Evidence Supporting Specification 1.

       Specification 1 alleged that “On February 9, 2018, during a parathyroidectomy procedure

on patient C2171, [Plaintiff] placed an arterial line without appropriate evaluation and

assessment, without confirming through additional readings or physical exam the patient’s vital

signs, and without appropriate communication with other staff.” (AR 175). It is supported by an

email and written statement from Certified Registered Nurse Anesthetist (“CRNA”) Timothy


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Christie, dated February 12 and March 9, 2018, respectively. (AR 236-247). It is also supported

by Mr. Christie’s sworn DAB hearing testimony (AR 1159-1212) and the patient chart (AR 238-

239).

        The DAB upheld this specification. It considered all the evidence and testimony

submitted before it and concluded that Plaintiff “did not have a direct conversation with Timothy

Christie causing him to not feel valued as part of the anesthesia team.” (AR 966 (citing the

testimony of both Mr. Christie and Plaintiff)). While Plaintiff had a large degree of medical

discretion to determine a course of treatment, the issue was that “there was minimal discussion

between [Plaintiff] and members of the anesthesia team prior to the placement of an arterial

line.” (Id.). The DAB credited Mr. Christie’s recollection of the encounter in Specification 1

over Plaintiff’s, noting that Mr. Christie’s description of Plaintiff’s actions was consistent with

Plaintiff’s typical practice. “[T]here is no collaborative team effort to include her unwillingness

to relay information regarding why or how things are done on a daily basis.” (Id.). “[W]orking

with [Plaintiff] was always very difficult concerning intervention with the patients.” (Id.). In

crediting Mr. Christie’s testimony over Plaintiff’s, the DAB also cited to Dr. Ian Black’s

testimony, as well as Plaintiff’s own admission that her “communication style was not the most

effective in a clinical setting.” (Id.).

    B. Evidence Supporting Specification 2.

        Specification 2 alleged that “On February 7, 2018, during a procedure on patient S8826

involving excision of a pilonidal [cyst] and left scrotal mass, [Plaintiff] removed an inflated

endotracheal tube without allowing for evaluation of placement prior to doing so, and [Plaintiff]

administered medications without appropriate communication and coordination with the

CRNA.” (AR 175). It was supported by an email and written statement from CRNA Sarah


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Fredriksson dated February 12 and March 13, 2018 (respectively), a written statement from

Molly Gordon dated April 23, 2018, and the patient chart (AR 250-264). Ms. Fredriksson and

Ms. Gordon both also provided sworn in-person testimony at the DAB hearing. (AR 1213-1286,

Sarah Fredriksson’s testimony; AR 1344-1367, Molly Gordon’s testimony).

       Plaintiff’s argument that the DAB’s mere disagreement with her theory of the case must

mean that the DAB did not even consider her proffered evidence and testimony is illogical and

unavailing. (See Pl’s Opp. at 17 (arguing the DAB upheld Specification 2 “on the

unsubstantiated basis that Dr. Doe acted without appropriate communication and coordination,”

although the evidence did in fact substantiate Plaintiff’s lack of appropriate communication and

coordination); see also id. at 20-21 (making the same argument while misleadingly omitting the

DAB’s finding that Plaintiff “also has the responsibility to foster clear and open communication

with the team”)). Relevant to Specification 2, Plaintiff claimed she pulled the patient’s

endotracheal tube because the patient “became cyanotic quickly” (meaning the patient was

turning blue). (AR 18 and 130, Plaintiff’s written response). Ms. Fredriksson testified that the

patient did not become cyanotic. (AR 1224, Ms. Fredriksson’s testimony that she “can say

absolutely the patient was not cyanotic”; AR 1351, Ms. Gordon’s testimony that she did not

recall the patient becoming cyanotic). The patient’s medical record also contains no notation

indicating cyanosis. (AR 250, patient chart; see AR 1108, Dr. Black’s testimony; AR 1225, Ms.

Fredriksson’s testimony). Also, the DAB considered that Plaintiff had pressured and misled

Molly Gordon to sign an inaccurate memorandum. (AR 263, memo from Molly Gordon and AR

1355, testimony from Molly Gordon that Plaintiff pressured and misled her; see also AR 2102,

Agency’s closing argument).

       The DAB held that “as the most senior person on the team, [Plaintiff] also has the



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responsibility to foster clear and open communication with the team.” (AR 967). The DAB

cited to Dr. Ian Black’s testimony, which makes sense as he is the Chief of the entire

Anesthesiology Service. It also cited to CRNA Sarah Fredriksson’s testimony. (Id.). CRNA

Fredriksson perceived Plaintiff’s misconduct as “precipitous” and “without due diligence or

coordinating and communicating” (id.); thus, it does not take a leap of logic to identify the

adverse impact on the work environment from this finding. CRNA Fredriksson also discussed

that adverse “interpersonal environment” created by Plaintiff’s misconduct, and the DAB cited

that testimony. (Id.). As a result, the DAB ultimately credited CRNA Fredriksson’s testimony

over Plaintiff’s.

        In sum, the DAB was well aware of Plaintiff’s mendacious conduct because the evidence

before the DAB was clear. (See AR 2100, Agency’s closing argument).

    C. Evidence Supporting Specification 4.

        Specification 4 alleged that “On January 29, 2018, during an endoscopic retrograde

cholangiopancreatography (ERCP) procedure on patient W0436, [Plaintiff] entered the room

where fluoroscopy was in use without lead protection, and [she] demanded that the fluoroscopy

be ceased during the procedure. The reason [she] entered the room involved another case.” (AR

175). This was supported by a written Report of Contact from Dr. Hazem Hammad dated

February 7, 2018, a written interview statement from Dr. Hammad dated March 8, 2018, a

written Report of Contact from nurse Tanya Gough dated January 29, 2018, a written interview

statement from Ms. Gough dated March 12, 2018, and the patient chart. (AR 279-295). Dr.

Hammad and Ms. Gough also provided sworn in-person testimony at Plaintiff’s DAB hearing.

(AR 1686-1734, testimony of Dr. Hammad, and AR 1460-1484, testimony of Ms. Gough).




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       The DAB’s decision relied on the testimony of Dr. Hazem Hammad and Nurse Tonya

Gough, as well as on Plaintiff’s own testimony “admit[ting] she should have put on her lead

protection prior to entering the room and [that she] apologized to Dr. Hammad for the

interaction.” (AR 967). Again, the record supported the credibility of Defendant’s witnesses

and evidence over Plaintiff’s. “Dr. Hazem Hammad explained everyone’s surprise to the

[Plaintiff’s] demand to cease using fluoroscopy due to the severity of the procedure which could

endanger the patient.” (Id.). “Although x-ray usage signs were posted on the doors, Dr.

Hammad asked the [Plaintiff] on more than one occasion, to protect herself, to which she

refused.” (Id.). “RN Gough described the [Plaintiff’s] demeanor as dismissive to the patient and

the procedure and only advantageous to her own agenda/concern.” (Id.). Plaintiff, for her part,

blames her pregnancy,1 but it is clear from the testimony and evidence presented to the DAB

that, in this instance, the members of the surgical team were clearly more concerned for

Plaintiff’s safety (and that of the patient) than Plaintiff was. Clearly, this misconduct negatively

impacted the workplace. Rather than work collaboratively, Plaintiff was “dismissive,”

interrupted a surgery at a critical stage, and jeopardized the safety of both the patient and herself.

(AR 967, discussion of Specification 4). Thus, the DAB credited the Agency’s evidence over

Plaintiff’s evidence and upheld this Specification.

   D. Evidence Supporting Specification 5.

       Specification 5 alleged that “On November 3, 2017, during a left cubital tunnel release on

patient T330 I, [Plaintiff was] distracted by a conversation on [her] cell phone involving an



       1
         See Pl’s Opp. at 2 (arguing retaliation based on her pregnancy), 18 (arguing without
support that Plaintiff was incapable of wearing a lead apron), 29 (same), 30 (arguing failure to
accommodate pregnancy as a defense), 36 (arguing the DAB “failed to account for her high-risk
pregnancy”), and 43 (arguing failure to accommodate pregnancy as a defense).
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unrelated matter. Due to [Plaintiff’s] distraction, [she was] unprepared to address the patient’s

discomfort, and [she was] unaware of the surgeon’s progress on the case.” (AR 175-176). This

was supported by an email from Dr. Rajshri Bolson dated February 23, 2018 and Dr. Bolson’s

written interview responses dated March 8, 2018 and the patient chart. (AR 298-305). Dr.

Bolson communicated this complaint to Dr. Black immediately after the surgery at issue but did

not feel comfortable providing a written statement until February 2018. (AR 1022-1023, Dr.

Black testifying that Dr. Bolson first complained in November 2017 “contemporaneously with

the event” but wanted to remain anonymous; AR 1436-1438, Dr. Bolson testifying that she

reported the incident “The afternoon of the case” but wanted to remain anonymous due to

concerns of retaliation from Plaintiff). Dr. Bolson also provided sworn in-person testimony at

the hearing. (AR 1427-1459).

       The DAB’s findings credited Dr. Bolson’s testimony that she had “observed the

[Plaintiff’s] distracted inattentiveness (i.e. ‘turned away from the field, not addressing’ patient

concerns) to the patient at a critical time during a surgery.” (AR 967). The DAB also noted that

Plaintiff’s phone usage was “not related to work” and that Dr. Bolson immediately reported the

incident to Dr. Black.2 (Id.). Plaintiff’s only defense appears to be to point the finger at CRNA

Brenda Cordova. (See Pl’s Opp. at 24-25, arguing that “Specification 5 was founded on Dr.

Bolson’s mistaken belief that Dr. Doe was present during the entire surgery”; see also AR 298,

patient chart noting “13:10 [Plaintiff] back from break. Report received from CRNA Cordova”).




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         In fact, Dr. Bolson actually reported two complaints about Plaintiff’s conduct that same
day in November 2017—the Agency charged one incident as Specification 5 and the other was
left as supporting evidence to prove up the penalty and to rebut Plaintiff’s potential defense of
mistake of fact. (See AR 301 (email from Dr. Bolson reporting incident in Specification 5); AR
347 (email reporting similar incident); AR 1022:6-8 (Dr. Black’s testimony noting that Dr.
Bolson immediately reported both incidents)).
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Yet the evidence clearly established that the issues Dr. Bolson complained about occurred during

the last half of the surgery and that Plaintiff had returned from lunch approximately half-way

through the surgery. (AR 301 (email from Dr. Bolson describing issues with Plaintiff “about ½

way through the case”), AR 298 (patient chart showing that the surgery went from 12:15PM-

13:30PM); compare with AR 1540 (testimony of CRNA Cordova that she and Plaintiff

“probably had some crossover, so 13:05”)). In any event, CRNA Cordova certainly did not

testify that she was the one who had been distracted and inattentive on her phone, so the DAB

rightly concluded that the responsibility lay on Plaintiff. The DAB rejected Plaintiff’s defense

that Dr. Bolson’s perceptions were merely due to “differing anesthetic techniques.” (AR 968).

Again, a distracted anesthesiologist in these circumstances would clearly have a negative impact

on the work environment.

   E. Evidence Supporting Specification 8.

       Specification 8 alleged that “Between on or about May 1, 2016 and on or about

December 1, 2017, while serving as an attending anesthesiologist, [Plaintiff was] unprofessional

in [her] interactions with residents from the University of Colorado Anesthesiology Residency

Program. Specifically, [she was] difficult to reach or not present during key parts of patient care,

and [she] provided inadequate supervision and guidance to anesthesiology residents. [She] also

displayed a lack of effective, respectful, and professional communication with residents before,

during, and after cases.” (AR 176). This was supported by the report of resident complaints

received from the University of Colorado as well as interview statements from various witnesses.

(AR 228-235, 247, 262, 305, 337, 349, 358). Plaintiff also had access to her MedHUB resident




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evaluations3 from August 2017 which identified identical complaints. (AR 550-551, documents

provided by Plaintiff). Dr. Oliva (the residency program director for the University of Colorado)

testified about his personal knowledge as to how the University of Colorado became aware of the

residents’ complaints and how the University responded. (See AR 1373-1377, Dr. Oliva’s

testimony). Dr. Oliva also testified that he sent an anonymous survey and “at least a dozen

more” residents expressed concerns. (AR 1378). He also explained why Plaintiff’s MedHUB

evaluations reflected such significant issues with the residents. (AR 1384, 1386-1391, Dr. Olivia

testifying about the significance of Plaintiff’s MedHUB scores).

       In finding that the Agency had presented substantial evidence to support Specification 8,

the DAB cited specifically to the testimony of four witnesses who had given a consistent account

of Plaintiff’s character and reputation for acting in the exact same manner as the complaining

residents had described. The DAB found that the adverse impact of Plaintiff’s conduct on the

workplace is apparent from the face of the complaints. “[A]t least a dozen or the vast majority of

residents [] were uncomfortable working with the [Plaintiff].” (AR 968). The residents reported

“‘serious concerns about the training environment’ (i.e., ‘not learning . . . patient safety concerns

. . . techniques used . . . that were nonstandard’), knowledge and supervision (i.e., ‘how they

were treated . . . whether they were being intimidated in the OR’ and unsafe learning

environment) under the [Plaintiff].” (Id.). The DAB credited Dr. Oliva’s testimony that the

residents’ complaints led the University to remove Plaintiff from supervising residents and Dr.

Beck’s testimony that the same types of concerns had led surgeons to “schedule[e] procedures to

avoid the [Plaintiff] and request[] backup availability when scheduled with the [Plaintiff].” (Id.).



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        The DAB also considered Plaintiff’s further mendacity. Plaintiff asserted in her oral
reply that “she received evaluations from residents, all positive.” (AR 123). However, this was
false, as her MedHUB evaluations clearly show. (AR 550-551).
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       The DAB’s findings are patently reasonable considering the litany of other evidence

clearly establishing that the conduct the residents complained about was consistent with

Plaintiff’s standard pattern of practice. Other witnesses also testified that residents had

informally complained to them about Plaintiff, which is consistent with the statements in

Plaintiff’s Fiscal Year 2017 Proficiency Report noting “multiple complaints against her from

resident physicians as to her lack of availability, teaching skills, and demeanor, in general.” (AR

247, written statement from Mr. Christy stating “What I have had is numerous conversations

with the residents and their concerns about [Plaintiff’s] clinical judgment;” AR 262, written

statement of Molly Gordon that “I have witnessed some frustration between residents and

CRNAs with [Plaintiff]” due to lack of communication; AR 305 and 349, written statement of

Dr. Bolson regarding “some difficulty with discussions about plan of care . . . and sudden

changes in plan of care;” AR 358, written statement of Dr. Soong that he had been “messaged by

the anesthesiology resident . . . for lack of response from [Plaintiff];” AR 816, FY17 Proficiency

Report; AR 1357-1358, testimony of Molly Gordon that a resident complained to her that “he

didn’t feel comfortable working with [Plaintiff], and that he just didn’t feel like her knowledge

was the best;” AR 1753-1754 and 1758, testimony of Dr. Beck that “There was sometimes a lack

of clear direction given to particularly residents” and discussing other complaints). Plaintiff

argues that the DAB should have concluded that the at least four residents who wrote down

complaints (AR 232-235), the eight of twelve residents who provided negative evaluation

comments in 2017 (AR 550-551), and the “at least a dozen more” who responded to an

anonymous survey and expressed concerns (AR 1378, testimony of Dr. Oliva), all must have lied

and fabricated all of their complaints. (See Pl’s Opp. at 10 (arguing the existence of a retaliatory

“campaign relating to her resulting in generation of residents’ complaints), 16 (arguing that Dr.



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Ziegler’s testimony would have convinced the DAB that “the hearsay on which the DAB upheld

Specification 8” was not true), 26-27 (referring to the residents’ complaints as “uncorroborated”

and unreliable), 31 (same)). The DAB reasonably rejected such an implausible assertion.

    F. Evidence Supporting Revocation of Privileges and the Penalty of Removal.

       The DAB discussed eleven penalty factors in its analysis. (AR 968-970). The DAB

noted the “common theme” of the charged misconduct and the “consistency among all agency

witnesses” regarding the evidence. (AR 968). The DAB also noted as an aggravating factor that

it is “highly unusual” for a medical provider to receive “such a large number of negative

feedback responses from residents.” (AR 968-969). The DAB also considered the fact that

Plaintiff “is a very well-trained anesthesiologist[,]” (AR 969), which made her difficulty in

grasping concepts of civility and teamwork all the more concerning. Indeed, the DAB noted that

“[t]his is an accepted basic concept” and Plaintiff “should have known effective communication

is imperative.” (AR 969).

       The DAB gave Plaintiff credit for her lack of prior discipline but also noted that this did

not excuse her current misconduct. The DAB referenced the egregiousness of Plaintiff’s

misconduct when it noted “the very unusual CU decision to fire the Appellant from supervising

residents.” (AR 969). Plaintiff takes semantic issue with the term “fire” (see Pl’s MSJ at 30,

arguing Plaintiff was not really “fire[d]” because the DAB “disregarded evidence to the

contrary”), but there is no dispute that the University took the unusual step of revoking Plaintiff’s

ability to supervise any of its residents. (See AR 229-230).4 Looking at Plaintiff’s work record,

the DAB went beyond Plaintiff’s Fiscal Year 2017 proficiency rating and noted the “consistency



4
     The DAB also credited testimony that “every word” of the University’s December 2017
memorandum at AR 229-230 “had to be vetted for truthfulness and accuracy.”
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among the agency’s witnesses” relating to Plaintiff’s performance and misconduct. (AR 969).

Plaintiff does not explain how a patchwork of Focused Professional Practice Evaluations

covering other short periods of time could have in any way changed the DAB’s finding. The

DAB credited the bulk of evidence showing that Plaintiff “lacked proper communication skills

and was impulsive. (AR 969).

       The DAB found that, of the Agency employees who testified, only four said they would

be willing to work with Plaintiff again while “all other witnesses agreed they lost confidence in

the [Plaintiff] and it would be detrimental to their belief that the VA hold[s] their employees

accountable” if Plaintiff were returned to duty. (AR 969). The DAB thus correctly concluded

that removal was appropriate. Looking at the consistency of the penalty, the DAB considered

that Plaintiff’s “communication style created a toxic environment resulting in, in some cases,

surgeons cancelling surgeries.” (AR 969). The DAB also clearly was aware of and considered

the “highly unusual” circumstance of Plaintiff “[r]eceiving such a large number of negative

feedback responses from residents” and the fact that the University ultimately felt compelled to

“fire” Plaintiff from supervising residents. (AR 968-969). There was no evidence before the

DAB that any other employee ever even came close to the level of misconduct that the DAB

upheld against Plaintiff. Thus, the “removal penalty is consistent with the non-binding table of

penalties for similar repeated conduct.” (AR 969).

       Looking to impact on the Agency’s reputation, the DAB cited Dr. Oliva’s testimony, as

the head of the University’s anesthesiology residency program, that he was “concerned about

returning the [Plaintiff] to duty.” (AR 969). The DAB also noted other employees’ concerns

“that their faith in the VA[’s] ability to hold their employees accountable will be undermined if

the [Plaintiff] would be returned to duty.” (AR 969). One of these “employees” was Sarah



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Fredriksson, who was a contractor working with the Agency (i.e., a private citizen and not a

federal employee) and who testified that if the DAB returned Plaintiff to duty, “that would be a

violation of the trust.” (AR 1214-1215 and 1240).

       The DAB also properly considered that Plaintiff has little potential for rehabilitation.

Plaintiff points to her participation in the Colorado Physician Health Program (see Pl’s Opp. at

42-43), but the DAB found that “that self-referral only occurred after the [Plaintiff’s] privileges

were revoked. Her written replies to the Agency’s allegations at the time did not show any

acceptance of responsibility and was filled with placing blame on others.” (AR 970). Thus, the

DAB rightly concluded that Plaintiff is part of the roughly 10% of doctors that Dr. Humphreys

testified cannot be rehabilitated in his experience. (AR 1860, Dr. Humphreys testifying to a

“success rate” above 90% in general). Finally, the DAB found that Plaintiff’s medical issues

spanned only a small portion of the timeframe of her misconduct and therefore were not a valid

excuse, and it expressed its opinion that “the offense was serious enough to warrant removal

from the VA” rather than a lesser penalty. (AR 970).

   G. Evidence Rebutting Plaintiff’s Defense of a Conspiracy to Manufacture False
      Statements Against Her.

       Plaintiff urges the Court to confuse the distinct concepts of correlation and causation,

arguing that the litany of complaints against her must all have been falsified because the Agency

triggered the summary suspension of clinical privileges process “only after, in January 2018, she

disclosed a disability relating to her difficult pregnancy and requested a reasonable

accommodation” and that complaints came out around “the same time she began meeting with

ECHS leadership to report dysfunction.” (Pl’s Opp. at 2). Of course, this does nothing to

explain the residents’ and University’s complaints from January to August 2017. Moreover,

Plaintiff’s legal theories regarding the Agency’s alleged retaliatory motives are beside the point

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in this lawsuit where, as here, the record fully supports the DAB’s conclusions and is otherwise

devoid of evidence demonstrating any correlation between Plaintiff’s complaints and reasonable

accommodation request.

          Plaintiff also erroneously argues that her management must have fabricated the litany of

complaints against Plaintiff because they failed to limit Plaintiff’s radiation exposure. (See Pl’s

Opp. at 29). There is no dispute that Plaintiff’s doctor advised her to “limit radiation exposure

while pregnant.” (AR 2533). While Plaintiff interpreted this to mean that she could never be

assigned to cases involving x-rays (AR 2078), that is not what her doctor advised. In the case at

issue in Specification 4, Plaintiff began the procedure by anesthetizing patient, then left the room

while radiation was in use. She re-entered the room not because the patient needed her, but

because she wanted to retrieve a file for a different case. (AR 1970, Plaintiff’s testimony). Far

from showing a managerial conspiracy to injure her, the clear evidence shows that Plaintiff

exposed herself to radiation and then blamed her management for this decision.

    II.      PLAINTIFF’S ASSIGNMENTS OF ERROR LACK MERIT.

    A. The Board Has No Legal Authority to Compel Former Employees to Testify.

          Plaintiff falsely argues that Defendant has conceded that the DAB “improperly”

precluded Plaintiff from cross-examining the proposing official (Dr. Ellen Mangione) and the

deciding official (Ms. Sallie Houser-Hanffelder). (See Pl’s Opp. at 17). But Defendant clearly

pointed out that both Dr. Mangione and Ms. Houser-Hanfelder had retired before the DAB’s

hearing on the merits.5 (See Def’s Cross Mot. For Summ. J. at 4). The DAB has no authority to

issue subpoenas, no power to enforce subpoenas, and no ability whatsoever to require a non-



5
        In fact, the reason the DAB did not hold a hearing until December 2019 was because of
Plaintiff’s own requests for delay. (AR 455, 461, and 467).
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employee to appear before it and testify, and Plaintiff cites no such authority in her brief.

Moreover, Plaintiff did not even request Dr. Mangione or Ms. Houser-Hanfelder as witnesses, so

it is difficult to fathom how the DAB could have “precluded” her from examining a witness

which she did not even request. (See AR 498-499, 614-616, and 641-642).

   B. Plaintiff Ignores the Raft of Evidence Before the Board.

       Plaintiff’s opposition accuses Defendants of engaging in post hoc rationalization of the

DAB’s decision to exclude evidence proffered by Plaintiff. (See Pl’s Opp. at 9, 12, 33, and 41-

42). However, this argument rests on the faulty premise that the DAB ignored the parties’

arguments and the raft of evidence before it. Indeed, the record contains ample basis to justify

the DAB’s decision to exclude Plaintiff’s exhibits relating to her collateral matters, namely her

ongoing MSPB Whistleblower claims and her ongoing Equal Employment Opportunity

discrimination claims. The Agency pointed this out in its briefing before the DAB, and Plaintiff

argued the very opposite. (AR 650-657 and 962). It strains credulity to conclude that the DAB,

in expressly excluding Plaintiff’s evidence, failed to consider the parties’ briefing in the issue.

(See AR 982, DAB President acknowledging the parties’ submissions and denying motions to

include further exhibits in the record).

       Plaintiff’s objection to the DAB’s exclusion of her proffered evidence also relies on her

erroneous argument that the Board should have considered that evidence because it was relevant

to additional arguments she wished to raise before the DAB (and not that it was relevant to any

fact or matter actually in issue). (See Pl’s Opp. at 9-10 and 23). But the issue before the DAB

was the Charge and Specifications of Unprofessional Conduct, the penalty of removal, and the

decision to revoke Plaintiff’s clinical privileges. As discussed in Defendants’ motion, Plaintiff’s

collateral attacks alleging Whistleblower reprisal, failure to provide a reasonable


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accommodation, and pretextual Title VII discrimination were never before the DAB and thus

were never “relevant.” (See Def’s Cross-Mot. for Summ. J. at 13, 19, and 20).

        For example, Plaintiff’s efforts to litigate her allegation of “department-wide

dysfunction” are really just Plaintiff trying to litigate others’ misconduct as a red herring to

distract from her own misconduct. (See Pl’s Opp. at 10). Simply put, the relevant issue before

the DAB was whether Plaintiff had engaged in the charged misconduct. The fact that she alleges

that others also contributed to an overall toxic environment does not absolve Plaintiff of her

misconduct or her own significant contributions to that environment. Plaintiff points to her Pay

for Performance and Dr. Black’s reticence to recommend full bonus pay given Plaintiff’s

misconduct issues (see Pl’s Opp. at 10-11), yet she fails to explain how this is relevant to

whether she actually committed any of the charged misconduct (or how it proves that so many

VA employees and University residents must have falsified their reports in such a coordinated

fashion).6 In a bit of sophistry, Plaintiff also claims that she did not seek relief from the DAB

“for whistleblowing retaliation or equal employment opportunity discrimination” (Pl’s Opp. at

12), yet she argues that her removal was triggered solely by her alleged Whistleblowing

disclosures in mid-to-late 2017 and her EEO activity in January 2017. (See Pl’s Opp. at 2

(arguing that Plaintiff’s misconduct “did not begin to arise” until immediately after her

Whistleblowing disclosures and her EEO activity)). Plaintiff clearly attempted to leverage those

claims to convince the DAB to dismiss the charged misconduct as a conspiratorial fabrication in

retaliation for protected activity.




6
        Notably, Dr. Shockey recommended giving Pay for Performance on November 7, 2017,
before the University “fired” Plaintiff from supervising residents and before the charged
misconduct in Specifications 1, 2, 4, and 5 came to light. (See AR 820).
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       Plaintiff also points to Focused Professional Practice Evaluations (“FPPEs”) covering

limited timeframes of three months each, which were limited in scope to either the Surgical

Intensive Care Unit or the Operating Room but not both, and in which Dr. Torres did not

participate. (See Pl’s Opp. at 13-14). However, the FPPEs Plaintiff points to do not undermine

or negate Dr. Torres’ testimony—they are merely a snapshot in time and say nothing about

whether Plaintiff committed any of the charged misconduct. Plaintiff likewise overreaches when

she labels Dr. Semian’s conduct as “far more egregious” than Plaintiff’s. (Pl’s Opp. at 14). The

complaints against Dr. Semian did not involve anywhere near the breadth and depth of the

complaints against Plaintiff, nor were they so substantial and severe as to motivate the University

to “fire” Dr. Semian from supervising any of the University’s residents. Accordingly, he is not a

valid comparator.

       The DAB also rightly excluded Dr. Ziegler’s proffered testimony as an “expert” on both

the ultimate issue that the DAB was required to decide, namely an appropriate penalty, and

whether or not Plaintiff’s conduct was “unprofessional.” (AR 499 (Plaintiff’s proffer for Dr.

Ziegler stating he “will testify to the fact that the misconduct . . . do[es] not represent instances

of substandard [or] improper patient care” and to the appropriateness of “avenues other than

termination”), 587 (Agency’s pleading arguing that Dr. Ziegler’s proffered testimony goes

beyond the scope of the charged misconduct), 615 (Plaintiff proffering Dr. Ziegler for same

purposes described above), 638 (DAB Summary of Pre-Hearing Conference addressing the

parties’ briefings and stating that the DAB will not allow expert witnesses), 1799-1800

(transcript of hearing, DAB President stating same)). Presumably Plaintiff wanted Dr. Zeigler to

testify that Plaintiff’s misconduct was “professional,” despite the undeniable negative impact it

had on the workplace. But the DAB did not need Dr. Ziegler for that purpose, as it was entitled



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to use the definition of unprofessional conduct in well-established case law as well as the plain

meaning of the phrase. Plaintiff does not cite any prior case where an expert was permitted to

opine on such a basic proposition as to whether conduct which creates such a toxic working

environment as here is “unprofessional” or not. In Abaqueta v. United States, 255 F. Supp. 2d

1020 (D. Ariz. 2003), the case relied on primarily by Plaintiff, the court analyzed whether expert

testimony was necessary to determine whether there was a valid medical reason for a doctor to

palpate a patient’s breasts while the patient was under anesthesia. That is not the issue here,

where Plaintiff asserts that none of the charged misconduct occurred at all. However, the record

before the DAB adequately demonstrates that her conduct had a decidedly negative impact on

her co-workers, on the medical teams in which she worked, and on the entire work environment

and it therefore meets the objective standard of unprofessional conduct established by clear case

law.

        Plaintiff also inappositely refers to her MedHUB evaluations as “favorable” based on an

insistence that the court look to the literal titles of the five evaluation ranges to the exclusion of

the substance of the actual evaluations. Here, there were 12 responses, not 18 (see AR 550), and

of those, 8 evaluators left negative comments. Plaintiff’s evaluations are also substantially lower

than for her peers by an average of 1.5 standard deviations or more. (AR 550). Accordingly,

regardless of her score, Plaintiff was clearly much less regarded than her peers.

    C. No Evidence That Plaintiff Will Actually Lose Her License, Nor That it is
       Impossible for Her to Find Employment.

        Plaintiff repeatedly asserts, without any evidence, that her career is permanently over. It

is not, and she provides no evidence to support her apocalyptic speculation. The Defendant has

no power or authority to take an action against a medical provider’s state-issued medical license.

The Defendant can only report the DAB’s findings and the state licensing board must make its

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own determination. The DAB found that Plaintiff engaged in “professional misconduct” and that

“[h]er main problem was how to interact within a team.” (AR 970). The DAB found that, given

that Plaintiff’s primary issue was her interpersonal interactions with others, “[s]he might be

successful somewhere else.” (AR 969). It is anything but a foregone conclusion that Plaintiff’s

state licensing board will allow her to maintain her license and work for a different hospital (or

open her own medical practice).

   D. Plaintiff Confuses the Charge with the Specifications.

       Plaintiff still confuses the Charge with the Specifications, arguing erroneously that the

Agency must prove the “essence” of each specification based on case law stating instead that the

Agency must prove the “essence” of each charge. (See Pl’s Opp. at 23-24 and 30). The MSPB

in Otero v. USPS, 73 MSPR 198, 204 (1997) explained the rule as follows:

       [A]lthough . . . a charge must fall if any element of the charge label is not proven,
       that does not thereby mean that a charge must fall if any portion of the narrative
       description of the charge is not proven. For example, if an agency named a
       charge “theft of government property,” and then in the narrative description stated
       that on a single occasion, the employee stole a hammer, a wrench, and a
       screwdriver the charge would not fall under Burroughs if on appeal the agency
       could prove only that a hammer and a wrench were taken.

Id. (citing Burroughs v. Dep’t of the Army, 918 F.2d 170, 172 (Fed. Cir. 1990)). The DAB’s

findings as to Specifications 1 and 2 (let alone the findings as to Specifications 4, 5, and 8) are

sufficient to uphold the Charge of Unprofessional Conduct based on the entire record.

   E. Protected Peer Review Issue.

       Plaintiff also argues for the first time in this litigation that she sought, but was denied,

admission of evidence “establishing that Soong’s matters were the subject of a Protected Peer

Review evaluated by the Peer Review Committee.” (Pl’s Opp. at 33). Plaintiff has never

previously argued that the DAB considered otherwise protected peer review records, so she has


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waived this issue. See Noble Energy, Inc. v. Salazar, 691 F. Supp. 2d 14, 23 n.6 (D.D.C. 2010)

(argument not raised in summary judgment motion is waived). Moreover, federal law provides

that “Records and documents created by the Department as part of a medical quality-assurance

program (other than reports submitted pursuant to section 7311(g) of this title) are confidential

and privileged and may not be disclosed to any person or entity except as provided in subsection

(b) of this section.” 38 U.S.C. § 5705(a). This section refers to peer review files from the

Agency’s Quality Assurance (also called Quality, Safety and Value) Service, and subsection (b)

does not provide an exception for disclosures in discovery or litigation.

       The “evidence” plaintiff now points to did not come from the Agency’s Quality

Assurance Service, though. Nor was it produced by a protected Peer Review process. The

Agency is free to use non-privileged evidence which was not gathered through a protected Peer

Review process. Thus, Dr. Soong and every other witness was free to provide unprotected

adverse reports to Dr. Ian Black, to the DAB, and to anyone else who requested them for a valid

managerial purpose. The fact that information might be duplicated in both a protected and an

unprotected forum does not make every iteration of that information magically privileged.

Plaintiff has not identified any document or testimony which came directly from a protected

source, such as the Peer Review process, rather than an independent and unprotected source.

   F. The Agency Did Not Fail to Cite Any Specific Law or Policy for Each Specification.

       Plaintiff inappositely argues that the Agency was required to cite specific law or policy

for each of the charged Specifications. (See Pl’s Opp. at 33-34 (citing VA Directive 5021/9)).

However, the VA Directive cited by Plaintiff clearly states that such law or policy only needs to

be cited “as it pertains to each charge.” (See AR 571). If a specific rule or law does not pertain

to a charge, the Agency need not cite it. The Agency need not charge a violation of a specific


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statute or rule. Instead, it may label a charge appropriately (such as by labeling it Unprofessional

Conduct), describe the conduct at issue, then prove that the charged conduct meets the elements

of the charging label. The Agency did so here.

   G. The Existence of Plaintiff’s High-Risk Pregnancy Was Not a Contested Fact
      Requiring Additional Evidence and, In Any Event, the DAB Held That it Was Not a
      Valid Defense.

       Plaintiff also makes much of a policy applicable to Title 5 employees that permits

employees to submit medical documentation to demonstrate that a medical condition affected his

or her performance. (See Pl’s Opp. at 35). However, the Agency appointed Plaintiff as a

physician pursuant to Title 38, not pursuant to Title 5. While Plaintiff cites to AR 2909, which is

Part I, Chapter 3 of VA Handbook 5021, the table of contents for VA Handbook 5021 clearly

states that Part I applies only to “Disciplinary and Adverse Actions Under Title 5.” (AR 2872

(emphasis added)). Part II, rather, applies to “Disciplinary Procedures Under Title 38.” (See AR

2870). Plaintiff therefore cites the wrong rules.

       More importantly, Plaintiff’s pregnancy was never a contested issue before the DAB.

The Agency did not argue that Plaintiff was not pregnant or that her pregnancy was not a high-

risk pregnancy. To the extent Plaintiff argues that she was precluded from proving that claim,

her argument is meritless. Rather, the DAB found that, assuming Plaintiff’s claim relating to her

pregnancy were true, it did not explain or justify the charged misconduct because Plaintiff’s

misconduct was not limited to the timeframe of her pregnancy. (AR 970, DAB decision

concluding that “The Appellant had health issues during late 2017 and early 2018; however, the

communication issues started prior to her health concerns”)). Thus, the DAB appropriately

rejected this argument.




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    H. Plaintiff Inappositely Argues the DAB “Ignored” Her Evidence Solely Because It
       Did Not Win the Day.

       Similarly, Plaintiff cites to a portion of VA Handbook 5013 which also applies only to

Title 5 personnel, not to Title 38 personnel such as Plaintiff. (See Pl.’s Opp. at 36-37). Plaintiff

also appends four exhibits to her brief, which are not part of the Administrative Record nor were

they before the DAB for review. However, Plaintiff offers no basis for the Court to consider any

extra-record evidence as is her burden. See Esch v. Yeutter, 876 F.2d 976, 991 (D.C. Cir. 1989)

(identifying exceptions to the general prohibition on extra-record evidence). At page 36,

Plaintiff argues that the Agency did not provide her with a copy of her proficiency report in time

for her to avoid committing further misconduct. This, of course, does not address the substantive

issue of whether Plaintiff engaged in the charged misconduct in the first place.

       Plaintiff’s Exhibit 4 cites to portions of VA Handbook 5013, Performance Management

Systems, contained in Part I. A glance at the table of contents for that policy shows that Part I

applies to the “Title 5 Performance Appraisal Program” while Part II applies to the “Title 38

Proficiency Rating System.” See Exhibit 1 (relevant portions of VA Handbook 5013).7 Of

course, regardless of the above, Plaintiff still fails to explain how the existence or non-existence

of this policy is in any way relevant to whether she engaged in the charged misconduct.

       Plaintiff also lists a raft of inaccurate or inapposite arguments. At page 37 she claims

incorrectly that the DAB’s decision did not find any risk of harm to patients. However, at AR

968, the DAB specifically noted that “The Appellant’s failure to effectively communicate put the

agency and the patients at unnecessary risk.” At page 38, Plaintiff argues that a failure to sustain



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       Defendants attach this information solely for the purpose of addressing Plaintiff’s extra-
record exhibits and not to supplement the Administrative Record in this case.


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all specifications may render a penalty unreasonable, yet the DAB did sustain all the

specifications at issue. Plaintiff also incorrectly claims the Specifications did not reference the

Agency’s “team” model while ignoring both the entire evidence file and common sense. But the

terms “team” and “teamwork” are referenced 86 times in the Evidence File.8

        At page 39, Plaintiff refers to another anesthesiologist, Dr. Frandrup, who was returned to

his position after a DAB hearing. However, unlike Plaintiff, Dr. Frandrup’s removal was

overturned by the DAB, so this is not an apt comparison. Moreover, Dr. Frandrup’s case is the

case which Dr. Oliva testified “burned” him and the University, and it soured his relationship

with the Agency. (See AR 1401, 2424, 2431, 2611-2612).

        Plaintiff incongruously argues that the DAB should have mitigated the penalty based on

Plaintiff’s “future ability to fulfill her duties” and Plaintiff’s assertion that “There is no allegation

that Dr. Doe has any flaws of integrity or character.” (See Pl’s Opp. at 40). Yet, this is

contradicted by the great weight of the evidence and the clear record before the DAB, which was

rife with evidence of flaws of both integrity and character. (See, e.g., references to Plaintiff’s

mendacity which were before the DAB). Plaintiff follows this claim with another clearly

inapposite assertion, namely that “many witnesses expressed a willingness to continue working

with” Plaintiff. (Pl’s Opp. at 40). Of course, this is only relevant if both the DAB and the Court

ignore the litany of witnesses who expressed the exact opposite point of view. Plaintiff also,

again, incorrectly claims that penalties for similar misconduct weighed in favor of a lesser




8
       See AR 13, 44, 60, 64, 65, 67, 127, 136, 137, 150, 154, 155, 157, 180, 208, 209, 216,
222, 224, 225, 226, 227, 229, 233, 241, 244, 245, 246, 253, 260, 270, 272, 273, 303, 311 (SICU
Team Multidisciplinary Progress Note), 315, 321, 323, 326, 327, 340, 348, 351, 355, 356.
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penalty here, yet Plaintiff cannot identify a single other employee who had such a huge laundry

list of complaints from such a broad cross-section of the hospital (and the University to boot).

       At page 41, Plaintiff completely ignores the reputational injury of the VA in the eyes of

both the University (and its residency program and the flow of incoming residents who have to

decide each year what programs to apply to) and CRNA Sarah Fredriksson, a contractor. At

page 42, Plaintiff falsely refers to her MedHUB evaluations as “overwhelmingly favorable,”

ignoring the fact that she was rated approximately 1.5 standard deviations lower than her peers

and 8 out of the 12 residents who evaluated her had negative comments to add, including that her

actions endangered patient safety. (See AR 550-551). Plaintiff also misrepresents her request

for reasonable accommodation. She never requested a reasonable accommodation of not being

assigned cases requiring radiation. As noted, her doctor said to “limit” (not remove) radiation

exposure, and the only reason she went into the room for case at issue in Specification 4 was not

for the case she assigned to but for a different case. Plaintiff exposed herself to radiation and

now wants to place the blame on Defendant. Plaintiff did not identify a single other case which

required her to expose herself to radiation.

       Plaintiff also claims that she was assigned two first year residents for one week and the

DAB should have considered this as a mitigating factor for Specification 8. Plaintiff’s claim

finds no support in law or reason, nor did Plaintiff present any evidence that this assignment

continued beyond one week. Last, Plaintiff argues that Dr. Ziegler should have been allowed to

testify as an “expert” regarding VA Directives because those Directives apply equally to all

facilities. Yet, this argument weighs against allowing his testimony, as the DAB could have just

taken judicial notice of the policies and disciplinary options in those Directives.




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                                       CONCLUSION

       For the foregoing reasons, as well as those discussed in Defendants’ motion, Defendants

respectfully request that the Court grant Defendants’ cross-motion for summary judgment and

deny Plaintiff’s motion for summary judgment.

Dated March 8, 2021                 Respectfully submitted,

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                                    Acting United States Attorney

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  JANE DOE, M.D.,

                        Plaintiff,

                 v.                                       Civil Action No. 20-2148 (CRC)

  Steven Lieberman, Acting Principal Under
  Secretary for Health, Department of Veterans
  Affairs, et al.,

                        Defendants.


                                     [PROPOSED] ORDER

       UPON CONSIDERATION of Defendants’ Cross-Motion for Summary Judgment,

Plaintiff’s Motion for Summary Judgment, and the entire record herein, it is hereby

       ORDERED that Defendants’ motion is GRANTED;

       ORDERED Plaintiff’s motion is DENIED; and it is further

       ORDERED that Plaintiff’s complaint is DISMISSED WITH PREJUDICE.

       It is SO ORDERED this                     day of                , 2021.



                                                    ______________________________
                                                    Hon. Christopher R. Cooper
                                                    United States District Judge
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               EXHIBIT 1
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Department of Veterans Affairs                                             VA HANDBOOK 5013
Washington, DC 20420                                                       Transmittal Sheet
                                                                           April 15, 2002

                         PERFORMANCE MANAGEMENT SYSTEMS

1. REASON FOR ISSUE: To issue Department of Veterans Affairs (VA) procedures regarding
performance management systems.

2. SUMMARY OF CONTENTS/MAJOR CHANGES: This handbook sets forth mandatory
procedures previously contained in numerous other issuances. No substantive changes have been made.

3. RESPONSIBLE OFFICE: The Human Resources Management Employee Relations and
Performance Management Service (051), Office of the Deputy Assistant Secretary for Human Resources
and Labor Relations.

4. RELATED DIRECTIVE: VA Directive 5013, “Performance Management Systems.”

5. RESCISSIONS: Refer to the Transmittal Sheet for VA Handbook 5001, “General Introduction and
Administration.”


CERTIFIED BY:                                            BY DIRECTION OF THE SECRETARY
                                                         OF VETERANS AFFAIRS:




John A. Gauss                                            Jacob Lozada, Ph.D.
Assistant Secretary for                                  Assistant Secretary for Human
Information and Technology                               Resources and Administration
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APRIL 15, 2002                                              VA HANDBOOK 5013


                    PERFORMANCE MANAGEMENT SYSTEMS

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                                                                                                                 PART I



                                       PERFORMANCE MANAGEMENT SYSTEMS

                           PART I. TITLE 5 PERFORMANCE APPRAISAL PROGRAM

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JULY 6, 2011                                                                       VA HANDBOOK 5013/10
                                                                                   PART I

                  PART I. TITLE 5 PERFORMANCE APPRAISAL PROGRAM

1. COVERAGE. This part applies to the process used to appraise the performance of the following
Department of Veterans Affairs employees: (NOTE: This policy applies to bargaining unit employees,
unless negotiated provisions in National Agreements and Memoranda of Understanding provide
otherwise):

  a. General Schedule employees, including employees covered by the Performance Management and
Recognition System Termination Act of 1993.

  b. Federal Wage System employees.

  c. Scientific and Technical (Senior Level) employees paid under 5 U.S.C. 5376.

   d. Full-time, part-time and intermittent hybrid Title 38 employees appointed under 38 U.S.C. 7401(3)
or 7405(a)(1)(B).

  e. Veterans Canteen Service employees appointed under 38 U.S.C., chapter 78.

  f. Temporary and Term employees, except as specifically excluded.

  g. All Veterans Health Administration (VHA) employees [under the Executive Career Field
Performance Appraisal Program fall under the provisions of Appendix F of this part. However, for
matters not specifically covered by Appendix F, the provisions of this part shall apply].

2. EXCLUSIONS. This part excludes the following:

   a. Officers appointed by the President, by and with the advice and consent of the Senate, or by the
President alone, to positions for which rates of basic compensation may exceed the maximum rate
provided in the General Schedule.

  b. Employees in the Senior Executive Service.

   c. Full-time, part-time, and intermittent physicians, dentists, chiropractors, nurses, nurse anesthetists,
optometrists, podiatrists, physician assistants, expanded-function dental auxiliaries appointed under
38 U.S.C. 7401(1), 7405(a)(1)(A), or 7406, and individuals appointed under 38 U.S.C. 7306 in the
Office of the Under Secretary for Health.

   d. Non-U.S. citizens employed at the VA Regional Office, Manila, Republic of the Philippines, who
are paid according to local prevailing wage rates.

  e. Temporary employees in the excepted service for which employment is not reasonably expected to
exceed 90 days in a 12-month period.

  f. Members of the Board of Veterans’ Appeals and the Board of Contract Appeals.

  g. Veterans Benefits Administration (VBA) non-executive directors.

  h. Veterans Health Administration (VHA) Associated Health Trainees..


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